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 From:           Paoletta, Mark (CFPB)
 To:             Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
 Subject:        Re: Specific Notice of RIF Template
 Date:           Saturday, April 12, 2025 8:47:55 PM


 Just seeing this email. Thank you


 From: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>
 Sent: Saturday, April 12, 2025 8:13:00 PM
 To: Paoletta, Mark (CFPB) <Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (CFPB)
 <Daniel.Shapiro@cfpb.gov>
 Subject: RE: Specific Notice of RIF Template

 Let me confirm that my staff and I will take no action unless we hear directly from you
 or the Director. Sorry for the confusion.

 Adam Martinez
 Chief Operating Officer


 From: Martinez, Adam (CFPB)
 Sent: Saturday, April 12, 2025 7:52 PM
 To: Paoletta, Mark (CFPB) <Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (CFPB)
 <daniel.shapiro@cfpb.gov>
 Subject: FW: Specific Notice of RIF Template

 Hi Mark and Daniel –

 Gavin reached out this afternoon and I’ve had discussions with him and Jeremy. I
 have several employees pulling information together and providing Gavin with access
 to a couple of our systems. Could you confirm that we are authorized to keep moving
 this forward? I understand we will continue to receive guidance.

 Thank you.

 Adam


 Adam Martinez
 Chief Operating Officer


 From: Jeremy Lewin <jlewin@usaid.gov>
 Sent: Saturday, April 12, 2025 4:08 PM
 To: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>
 Cc: Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>; Lewin, Jeremy <Jeremy.Lewin@cfpb.gov>
 Subject: Specific Notice of RIF Template

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 Adam,

 Please find attached an updated RIF letter template for tomorrow's planned personnel
 actions. Let me know of any questions or concerns.

 We will need to pull the requisite information to accurately fill in this information for the
 employees in the competitive areas approved by OPM, and mail merge with the required
 Title 5 supporting information packet (which we have as a consolidated single PDF).

 Once we have the full roster, Director Vought's team and I will conduct an individualized
 assessment to, consistent with the DC Circuit's stay, ensure that only non-statutory
 positions are affected.

 In addition, what is the status of the probationary employees?

 Thank you,
 Jeremy




 Sensitive But Unclassified (SBU)




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